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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

  CHERYL HALL, and BRAD
  LAFUZE, on behalf of themselves and
  all others similarly situated,

       Plaintiffs,                        Case No. 20-cv-10670
                                          Hon. George C. Steeh
  v.                                      Mag. Judge Patricia T. Morris

  WELLPATH, LLC,

       Defendant.

  LIDDLE & DUBIN, P.C.                    CHAPMAN LAW GROUP
  Steven D. Liddle (P45110)               Ronald W. Chapman Sr., M.P.A.,
  Matthew Z. Robb (P81665)                LL.M. (P37603)
  Attorneys for Plaintiffs                Wedad Suleiman (P81970)
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  (313) 392-0025                          Troy, MI 48098
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                                          wsuleiman@chapmanlawgroup.com


       DEFENDANT WELLPATH, L.L.C.’S REPLY TO PLAINTIFFS’
          RESPONSE TO DEFENDANT’S MOTION TO DISMISS


 EXHIBIT C           Wellpath Policy and Procedure HCD-100_D-02 – Medication
                     Services for Grand Traverse County Jail and Wayne County
                     Jail
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                                                                      Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
TITLE: HCD-100_D-02 Medication Services --Grand Traverse                         REFERENCE: 65440
MI
                                                                                 PAGE:          1 OF 5
                                                                                 VERSION:1
APPROVER: Worley, Nanette                                                        SUPERSEDES: Not Set
                                                                                 EFFECTIVE: 06/23/2019
                                                                                 REVIEWED: 06/23/2019



  1. PURPOSE

  This policy is intended to ensure that medication services are clinically appropriate and provided
  in a timely, safe, and sufficient manner.

  2. APPLICABILITY

  This policy applies to health care staff and other persons providing services at the request of
  Wellpath.

  3. POLICY

  Wellpath will provide patients with adequate and appropriate medications when clinically
  indicated. Medications are administered or delivered to the patient in a timely and safe manner.
  No partial doses of medication will be administered without a new order from the prescribing
  clinician.

  Special procedures, including the use of a translation service, ensure that patients who have
  difficulty communicating understand how to access health care services. Any special procedure
  used shall be documented in the health record to demonstrate effective communication.

  4. INTERPRETATION / RESPONSIBILITY

  This policy is to be interpreted by the Wellpath Chief Clinical Officer or designee, and it is the
  responsibility of the Responsible Health Authority or designee to ensure implementation and
  adherence.

  5. DEFINITIONS

  KOP – Keep on Person medication

  Qualified Health Care Professional (QHP) – Includes physicians, physician assistants, nurses,
  nurse practitioners, dentists, dental hygienists, dental assistants, MAs, CNAs, mental health


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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
                                                          Policies & Procedures
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  professionals, and others who by virtue of education, credentials, and experience are permitted
  by law to evaluate and care for patients

  RHA/HSA – Responsible Health Authority / Health Services Administrator

  Health Care Staff – Qualified health care professionals as well as administrative and supportive
  staff (e.g., health records administrators, laboratory technicians, nursing and medical assistants,
  and clerical workers)

  6. PROCEDURE

      6.1. Prescription medications are administered or delivered to the patient only upon the order
           of a physician, dentist, or other legally authorized individual. The Responsible Physician
           / Medical Director determines prescribing practices in the facility.

      6.2. Medications are delivered in a timely manner, 24 to 48 hours unless specified by a
           practitioner. The Responsible Health Authority (RHA) / Health Services Administrator
           (HSA) is responsible for ensuring a policy addresses the expected time frames from
           ordering to delivery and an alternative pharmacy plan if the time frames cannot be met.
           Enter site-specific plan, including maximum time frame for delivery.

              6.2.1.    An appropriately licensed nurse will contact the prescriber for additional
                        instructions should there be no viable option to obtain medication within
                        specified time frames.

      6.3. Medications will be administered to patients at the prescribed dosage.

              6.3.1.    If the patient refuses to take the full dose as prescribed, then the QHP will not
                        administer the medication at all.

              6.3.2.    The QHP will note that the medication was refused.

              6.3.3.    If the medication is a High-Priority Medication, then the QHP will notify the
                        prescriber immediately after med pass is complete.

      6.4. Wellpath maintains a medication formulary and an established non-formulary
           medication ordering and approval process that ensures non-formulary medications are
           obtained in a timely manner.


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      6.5. Medications are prescribed only when clinically indicated, and the orders include start
           and stop dates.

      6.6. Medications are kept under the control of appropriate health care staff members, except
           for self-medication programs which are approved by the Facility Administrator and
           Responsible Physician / Medical Director.

              6.6.1.    Patients are permitted to carry medications necessary for the emergency
                        management of a condition when ordered by a provider.

      6.7. Patients entering the facility on verifiable prescription medication continue to receive the
           medication in a timely fashion as prescribed, or acceptable alternate medications are
           provided as clinically indicated. Justification for an alternate treatment plan is
           documented. (See policy HCD-100_E-09A Medication Verification)

              6.7.1.    Patients entering the facility on court-ordered medications for the
                        restoration/maintenance of competency will continue to receive such
                        medications as required by the court order, unless medically contraindicated.

              6.7.2.    All court orders will be forwarded to Wellpath Legal Department for review and
                        guidance.

      6.8. The ordering clinician is notified of the impending expiration of an order so that the
           clinician can determine whether the medication administration is to be continued or
           altered.

      6.9. QHPs administering the medication will verify the 5 Rights of drug administration and
           delivery before administering the medication.

              •     Right patient

              •     Right medication

              •     Right dose

              •     Right route

              •     Right time


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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
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      6.10. The QHP is responsible for taking every reasonable precaution to ensure that:

              6.10.1. The patient takes the medication in the presence of the QHP.

              6.10.2. There has been a check for “cheeking” or “palming” to ensure that medication
                      has been ingested.

              6.10.3. The patient speaks after taking the medication and/or drinks water.

      6.11. The QHP will keep the medication out of reach of patients at all times.

      6.12. Medications are administered at set times according coordination of medical and
            security, or they are administered as ordered per the provider. Enter site-specific times
            below.

                •   Daily – 0900

                •   BID – 0900, 2100

                •   TID – 0900, 1600, 2100

                •   QHS – 2100

      6.13. As needed (PRN) prescription medications are administered or delivered to the patient
            only upon the order of a physician, dentist, or other legally authorized individual.

              6.13.1. PRN over-the-counter (OTC) medications are administered or delivered to the
                      patient as part of a QHP intervention when allowable by state and federal
                      regulations.

              6.13.2. PRN prescription medications and PRN OTC medications are delivered in a
                      timely manner.

                         •   Twice a day PRN medications will have a minimum of 12 hours between
                             administered doses

                         •   Three times a day PRN medications will have a minimum of eight (8) hours
                             between administered doses



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                                                                     Wellpath
                                  Grand Traverse County Michigan Detention Center
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                         •   Four times a day PRN medications will have a minimum of six (6) hours
                             between administered doses

              6.13.3. PRN prescription medication is not delivered or administered if the maximum
                      number of recommended doses for the specific medication has been reached.

                         •   A current drug guide or the online Up-to-Date webpage will be utilized as
                             reference for maximum recommended daily dosage.

      6.14. QHPs are not authorized to repackage or relabel medications. This function is
            performed only by a licensed pharmacist, physician, or other persons as authorized by
            law.

  7. REFERENCES

  HCD-100_E-09A Medication Verification

  NCCHC Standards for Health Services in Jails 2018
    • Section: Ancillary Health Care Services: J-D-02 Medication Services (E)
  NCCHC Standards for Health Services in Prisons 2018
    • Section: Ancillary Health Care Services: P-D-02 Medication Services (E)
  NCCHC Standards for Mental Health Services in Correctional Facilities 2015
    • Section: Mental Health Care Services and Support: MH-D-02 Medication Services (E)
  ACA Standards / 2016 Standards Supplement
    • 4-ALDF-4C-38 Pharmaceuticals (M)
    • 4-ALDF-4C-39 Non-Prescription Medication
    • 1-HC-1A-35 Pharmaceuticals (M)
    • 1-HC-1A-36 Non-prescription Medication




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                                                    Wayne County Jail Michigan
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TITLE: HCD-100_D-02 Medication Services --Wayne MI                              REFERENCE: 52722
                                                                                PAGE:          1 OF 5
                                                                                VERSION:1
APPROVER: Townsel, Audrey                                                       SUPERSEDES: Not Set
                                                                                EFFECTIVE: 07/02/2019
                                                                                REVIEWED: 07/02/2019



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  clinician.

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  difficulty communicating understand how to access health care services. Any special procedure
  used shall be documented in the health record to demonstrate effective communication.

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  by law to evaluate and care for patients

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  RHA/HSA – Responsible Health Authority / Health Services Administrator

  Health Care Staff – Qualified health care professionals as well as administrative and supportive
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  6. PROCEDURE

      6.1. Prescription medications are administered or delivered to the patient only upon the order
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           (HSA) is responsible for ensuring a policy addresses the expected time frames from
           ordering to delivery and an alternative pharmacy plan if the time frames cannot be met.
           Enter site-specific plan, including maximum time frame for delivery.

              6.2.1.    An appropriately licensed nurse will contact the prescriber for additional
                        instructions should there be no viable option to obtain medication within
                        spspecified timeframesecified time frames.

      6.3. Medications will be administered to patients at the prescribed dosage.

              6.3.1.    If the patient refuses to take the full dose as prescribed, then the QHP will not
                        administer the medication at all.

              6.3.2.    The QHP will note that the medication was refused.

              6.3.3.    If the medication is a High-Priority Medication, then the QHP will notify the
                        prescriber immediately after med pass is complete.

      6.4. Wellpath maintains a medication formulary and an established non-formulary
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           obtained in a timely manner.

      6.5. Medications are prescribed only when clinically indicated, and the orders include start
           and stop dates.




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      6.6. Medications are kept under the control of appropriate health care staff members, except
           for self-medication programs which are approved by the Facility Administrator and
           Responsible Physician / Medical Director.

              6.6.1.    Patients are permitted to carry medications necessary for the emergency
                        management of a condition when ordered by a provider.

      6.7. Patients entering the facility on verifiable prescription medication continue to receive the
           medication in a timely fashion as prescribed, or acceptable alternate medications are
           provided as clinically indicated. Justification for an alternate treatment plan is
           documented. (See policy HCD-100_E-09A Medication Verification)

              6.7.1.    Patients entering the facility on court-ordered medications for the
                        restoration/maintenance of competency will continue to receive such
                        medications as required by the court order, unless medically contraindicated.

              6.7.2.    All court orders will be forwarded to Wellpath Legal Department for review and
                        guidance.

      6.8. The ordering clinician is notified of the impending expiration of an order so that the
           clinician can determine whether the medication administration is to be continued or
           altered.

      6.9. QHPs administering the medication will verify the 5 Rights of drug administration and
           delivery before administering the medication.

              •     Right patient

              •     Right medication

              •     Right dose

              •     Right route

              •     Right time

      6.10. The QHP is responsible for taking every reasonable precaution to ensure that:

              6.10.1. The patient takes the medication in the presence of the QHP.


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              6.10.2. There has been a check for “cheeking” or “palming” to ensure that medication
                      has been ingested.

              6.10.3. The patient speaks after taking the medication and/or drinks water.

      6.11. The QHP will keep the medication out of reach of patients at all times.

                6.12.      Medications are administered at set times according coordination of                             Formatted: Indent: Left: 0.75", Hanging: 0.25", Outline
                   medical and security, or they are administered as ordered per the provider. Enter                       numbered + Level: 3 + Numbering Style: Bullet +
                   site-specific times below.                                                                              Aligned at: 0.65" + Indent at: 1.2"


                •   Daily –

                •   BID –

                •   TID –

                •   QHS –

                •   QD –                                                                                                   Formatted: Font: (Default) Arial

      6.13.6.12. As needed (PRN) prescription medications are administered or delivered to the
            patient only upon the order of a physician, dentist, or other legally authorized individual.

              6.13.1.6.12.1.      PRN over-the-counter (OTC) medications are administered or
                      delivered to the patient as part of a QHP intervention when allowable by state
                      and federal regulations.

              6.13.2.6.12.2.      PRN prescription medications and PRN OTC medications are
                      delivered in a timely manner.

                         •    Twice a day PRN medications will have a minimum of 12 hours between
                              administered doses

                         •    Three times a day PRN medications will have a minimum of eight (8) hours
                              between administered doses

                         •    Four times a day PRN medications will have a minimum of six (6) hours
                              between administered doses


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                                                                     Wellpath
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              6.13.3.6.12.3.   PRN prescription medication is not delivered or administered if the
                      maximum number of recommended doses for the specific medication has been
                      reached.

                         •   A current drug guide or the online Up-to-Date webpage will be utilized as
                             reference for maximum recommended daily dosage.

      6.14.6.13. QHPs are not authorized to repackage or relabel medications. This function is
            performed only by a licensed pharmacist, physician, or other persons as authorized by
            law.

  7. REFERENCES

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